                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
ICELAND PROCRUISES EHF and                 )
ICELAND PROCRUISES GmbH                    )
            Plaintiffs,                    )
v.                                         )
                                           )       C.A. No.:
VANTAGE TRAVEL SERVICES, INC.              )
D/B/A VANTAGE DELUXE WORLD TRAVEL )
      Defendant                            )
__________________________________________ )

                               COMPLAINT AND JURY DEMAND

         Plaintiffs Iceland ProCruises ehf and Iceland ProCruises GmbH (collectively, “Iceland

ProCruises”), by and through their attorneys, Lewis, Brisbois, Bisgaard & Smith LLP, by way of

their Complaint against Defendant Vantage Travel Services, Inc. d/b/a Vantage Deluxe World

Travel (“VTS”) for breach of contract, unjust enrichment, conversion and violation of G.L., c.

93A, §§2 and 11 allege as follows:

                                  PARTIES AND JURISDICTION

         1.        Iceland ProCruises ehf is a foreign corporation incorporated under the laws of

Iceland in 2014 with its place of business at Armuli 15, 108 Reykjavik, Iceland. Iceland

ProCruises ehf is the legal entity which entered into the agreements with VTS in 2018 and 2019

that are the subject of this action.

         2.        Iceland ProCruises GmbH is a foreign corporation incorporated under the laws of

Switzerland, with a principal place of business at Baarerstrasse 21, 6300 Zug, Switzerland.

Iceland ProCruises GmbH became a managing company within Iceland ProTravel Group when it

was established in 2016. Iceland ProCruises ehf continues to be the operational company for

Iceland ProCruises GmbH in Iceland.




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         3.        VTS is incorporated under the laws of the Commonwealth of Massachusetts with

its principal place of business at 90 Canal Street, Boston, MA 02114.

         4.        Jurisdiction is based on diversity of citizenship pursuant to 28 U.S. Code

§1332(a)(2) because this action is between a citizen of Massachusetts and citizens of Iceland and

Switzerland and the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

         5.        This Court has personal jurisdiction over VTS because its primary place of

business is in this District and by virtue of Section 6 of the Agreement between Iceland

ProCruises and VTS executed on or about February 10, 2017 as well as Section 16 of the

Agreement between Iceland ProCruises and VTS executed on or about September 12, 2018,

described in more detail below, which provide that the agreements between the parties “shall be

governed by, and construed in accordance with the laws of the Commonwealth of

Massachusetts.”

         6.        Venue is proper pursuant to 28 U.S. Code §1391(b)(1) and (b)(2) because VTS is

a resident of this District; and a substantial part of the events or omissions giving rise to the

claims at issue occurred in this District.

                         ALLEGATIONS COMMMON TO ALL COUNTS

         7.        Iceland ProCruises is in the business of providing and selling travel and tour

services, including the chartering of vessels for cruises in and around Iceland and Greenland.

         8.        VTS is a tour operator and booking agent operating out of Massachusetts.

         9.        On or about February 10, 2017, Iceland ProCruises and VTS (“the Parties”)

entered into an agreement for certain sales of tour services, effective from the signing of the

contract through the end of the season of 2018 (the “2018 Agreement”). The Parties agreed that

VTS would act as a booking agent for Iceland ProCruises and would be responsible for



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collecting payments from customers that utilized Iceland ProCruises’ services and remitting

those payments to Iceland ProCruises. VTS was to earn a specified commission for the sales it

made. A copy of the 2018 Agreement is annexed as Exhibit A.

         10.       The specific services to be provided by Iceland ProCruises and the corresponding

rates are outlined in Addendum A to the 2018 Agreement. The Addendum details Shore

Excursion Package Rates, including specific tours and services that Iceland ProCruises is to

provide and corresponding rates in US Dollars that VTS is to pay to Iceland ProCruises. See

Exhibit B.

         11.       On or about September 12, 2018, the Parties entered into another agreement for

certain sales of tour services, effective for the period from January 1, 2019 to December 31, 2019

(the “2019 Agreement”), with VTS continuing to act as a booking agent for Iceland ProCruises.

A copy of the 2019 Agreement is annexed as Exhibit C.

         12.       On or about May 3, 2019, the Parties executed an Addendum to the 2019

Agreement (the “2019 Addendum”), annexed as Exhibit D. The 2019 Addendum modified the

terms and conditions of the 2019 Agreement and provided the services and corresponding rates

for the 2019 Agreement. Like the 2018 Addendum, the 2019 Addendum detailed Shore

Excursion Package Rates with various options for different tours, lodging, transportation and

food and the corresponding rates in US Dollars. Notably, the 2019 Addendum also modified the

rates for the 2018 Agreement. See Exhibit D, p.1, ¶1.

         13.       The terms of payment of the 2018 and 2019 Agreements are clear. Section 6 of

the 2018 Agreement states that “20% of [the] deposit [is due] within 30 days after name booking

[and] final payment [to be made] 8 weeks prior to departure.” (emphasis added). Section 6 of




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the 2019 Agreement provides that the “final payment [is to be made] six weeks prior [to]

departure.” See Exhibit C, p.2.

         14.       The terms of the 2018 and the 2019 Agreements required VTS to make prompt

payments to Iceland ProCruises for the amounts invoiced by Iceland ProCruises relating to the

sale of Iceland ProCruises’ travel and tour services. Although Iceland ProCruises issued invoices

to VTS, pursuant to the terms of the Agreements, VTS has repeatedly failed to remit full and

timely payment.

         15.       Despite Iceland ProCruises’ good faith efforts to collect the amounts owed under

the Agreements, VTS had an outstanding balance of $93,286.44 for 2018 and $888,593.55 for

2019.

         16.       Iceland ProCruises has made repeated demands on VTS for payment. On

December 6, 2019, Iceland ProCruises’ CEO, Gudmundur Kjartansson, sent email

correspondence to VTS CFO Gary Greenstein regarding payment of the outstanding balance of

“almost $900,000” which, he notes, is “approximately half of the year turnover with [VTS]” and

a “very large amount” for Iceland ProCruises. That same day, Mr. Greenstein sent an email

acknowledging receipt of Mr. Kjartansson’s correspondence, promising to review the account

personally and “revert back to Mr. Kjartansson shortly.” Copies of both emails dated December

6, 2019 are collectively annexed as Exhibit E.

         17.       Mr. Greenstein failed to respond thereafter despite Mr. Kjartansson’s continued

attempts to follow up with him via email and telephone.

         18.       On December 16, 2019, Iceland ProCruises’ CFO, Ásgerður Ragna Þráinsdóttir,

again reached out to Mr. Greenstein in an effort to collect the outstanding balance from VTS.




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         19.       Upon receiving no response from VTS, Iceland ProCruises was forced to refer the

matter to its attorneys in an attempt to collect the outstanding balance. On or about December 23,

2019, a letter was sent to Mr. Greenstein on Iceland ProCruises’ behalf, demanding payment of

the then-outstanding balance of $981,879.99, to no avail despite repeated telephone calls by

counsel for Iceland ProCruises in follow up to the letter. A copy of the December 23, 2019

correspondence is annexed as Exhibit F.

         20.       On or about January 14, 2020, another letter was sent to Mr. Greenstein, which

was hand-delivered to him directly, with copies to VTS’ General Counsel, Rossella Mercuri, and

VTS owner and founder, Henry Lewis, once again demanding payment of the $981,879.99

balance. A copy of the January 14, 2020 correspondence, including Mr. Greenstein’s written

acknowledgment of receipt of the January 14, 2020 letter, is annexed as Exhibit G.

         21.       On or about January 29, 2020, after follow up email correspondence by counsel

for Iceland ProCruises, Mr. Greenstein finally responded by email correspondence to Iceland

ProCruises’ counsel acknowledging that VTS “failed [Iceland ProCruises]” and stating “VTS

is “committed to honoring [VTS’] debts to [Iceland ProCruises].” (Emphasis added). Mr.

Greenstein promised to make “regularly scheduled payments beginning [that week] in the

amount of $70,000 until such a time as the old balances are paid off.” A copy of the January 29,

2020 correspondence is annexed as Exhibit H.

         22.       On January 29, 2020, VTS wired a payment of $70,000 to Iceland ProCruises. On

February 7, 2020, VTS made another payment of $70,000, leaving an outstanding balance of

$841,879.99. Mr. Kjartansson sent email correspondences to Mr. Greenstein on multiple

occasions after February 7, 2020 regarding the outstanding debt. No further payments have been

made.



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         23.       Iceland ProCruises has suffered and continued to suffer substantial financial

losses as a result of VTS’ continued failure to pay its outstanding balance.

                                           COUNT I
                                      BREACH OF CONTRACT

         24.       Iceland ProCruises repeats and realleges the foregoing paragraphs as if fully set

forth herein.

         25.       Iceland ProCruises fulfilled its contractual obligations to provide tour, travel and

charter services for VTS. Iceland ProCruises issued invoices to VTS, which VTS was to pay

within 30 days of receipt and at least six weeks prior to the scheduled departure of the

corresponding tours.

         26.       VTS failed to make the payments to Iceland ProCruises under the 2018 and 2019

Agreements. Notably, VTS has never contested the outstanding balances owed. In fact, VTS

acknowledged the debt and promised to repay it “with regularly scheduled payments beginning

[the week of January 29, 2020] in the amount of $70,000 until such time as the old balances are

paid off.” See Exhibit H.

         27.       Based upon VTS’ own admission of failing to meet its contractual obligations to

Iceland ProCruises, VTS breached the terms of the 2018 and 2019 Agreement in:

               a. May 2018;

               b. June 2018;

               c. July 2018;

               d. August 2018;

               e. September 2018;

               f. October 2018;

               g. November 2018;

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                 h. December 2018;

                 i. January 2019;

                 j. February 2019;

                 k. March 2019;

                 l. April 2019;

                 m. May 2019;

                 n. June 2019;

                 o. July 2019;

                 p. August 2019;

                 q. September 2019;

                 r. October 2019;

                 s. November 2019; and

                 t. December 2019.

           28.      Iceland ProCruises has been harmed as a result of each of VTS’ breaches, set

forth above.

           29.      The outstanding balance owed by VTS resulting from twenty (20) separate

breaches of the 2018 and 2019 Agreements is $841,879.99.

                                     COUNT II
                 BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

           30.      Iceland ProCruises repeats and realleges the foregoing paragraphs as if fully set

forth herein.

           31.      The 2018 and 2019 Agreements, as enforceable contracts between Iceland

ProCruises and VTS, contained an implied a covenant of good faith and fair dealing between the

Parties.

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         32.        The covenant of good faith and fair dealing prohibited the Parties from engaging

in any activity or conduct which would prevent the other party from receiving the benefits of the

contract.

         33.        VTS breached this covenant by failing to pay Iceland ProCruises for the tours and

services it provided to VTS per the 2018 and 2019Agreements, even after VTS was repeatedly

made aware of its failure to pay outstanding balances and despite Iceland ProCruises’ good faith

efforts to collect these amounts.

         34.        VTS’ failure to pay Iceland ProCruises even after it admitted to owing the debt to

Iceland ProCruises was made knowingly, willfully, and in bad faith and did not conform to

Iceland ProCruises’ reasonable expectations under the 2018 and 2019 Agreements.

         35.        Iceland ProCruises has suffered damages as a direct and proximate result of VTS’

breach of the covenant of good faith and fair dealing.

                                      COUNT III
                   VIOLATION OF MASSACHUSETTS UNFAIR AND DECEPTIVE
                          TRADE PRACTICES ACT M.G.L. c. 93A §11

         36.        Iceland ProCruises repeats and realleges the foregoing paragraphs as if fully set

forth herein.

         37.        At all times relevant hereto the Parties were engaged in trade or commerce within

the Commonwealth of Massachusetts.

         38.        VTS entered into a contractual agreement to engage in the business of providing

travel, tour and charter services to its customers through Iceland ProCruises in exchange for a

pre-determined fee.




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         39.       VTS agreed to pay Iceland ProCruises within 30 days of receipt of an invoice

from Iceland ProCruises and at least six weeks prior to the tours’ corresponding departure dates,

which VTS failed to do.

         40.       VTS acknowledged its obligation to pay the outstanding balances to Iceland

ProCruises.

         41.       Despite VTS’ agreement to pay Iceland ProCruises, VTS has repeatedly failed to

pay.

         42.       VTS’ conduct was made in bad faith, with the intent of maximizing its own

profits, and to secure unbargained-for-benefits not contemplated by the 2018 and 2019

Agreements.

         43.       VTS’ conduct, particularly after it was made aware of the outstanding balance,

and despite Iceland ProCruises’ continued good faith efforts to collect the balance, constitutes

unfair and/or deceptive trade practices in violation of M.G.L. c. 93A, §§2 and 11.

         44.       As a result, Iceland ProCruises is entitled to treble damages and attorneys’ fees in

an amount to be determined at trial.

                                            COUNT IV
                                       UNJUST ENRICHMENT

         45.       Iceland ProCruises repeats and realleges the foregoing paragraphs as if fully set

forth herein.

         46.       Iceland ProCruises provided tours and specific services to VTS as provided in the

2018 and 2019 Agreements, thereby conferring a benefit upon VTS.

         47.       VTS was aware of the services provided by Iceland ProCruises.

         48.       VTS accepted and retained the benefit of the services provided by Iceland

ProCruises.

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         49.       VTS’ failure to make timely payments to Iceland ProCruises allowed VTS to be

unjustly enriched.

         50.       Under the circumstances set forth above, such acceptance and retention of the

amounts due to Iceland ProCruises would be inequitable.

                                             COUNT V
                                            CONVERSION

         51.       Iceland ProCruises repeats and realleges the foregoing paragraphs as if fully set

forth herein.

         52.       VTS has failed to pay, for no justifiable reason, the total balance of $841,897.99

owed to Iceland ProCruises.

         53.       Based on the 2018 and 2019 Agreements and VTS’ own acknowledgment of the

debt, the outstanding balance owed is rightfully the property of Iceland ProCruises.

         54.       Thus, VTS has engaged in conversion of Iceland ProCruises’ property when it

failed to pay, repeatedly ignored Iceland ProCruises’ good faith efforts to collect the payment

owed, and used/or kept the money owed in its possession.

         55.       VTS is unlawfully in possession of property that belongs to Iceland ProCruises

with the intent to permanently deprive Iceland ProCruises of money owed, resulting in Iceland

ProCruises being harmed.

                                       DEMAND FOR RELIEF

    WHEREFORE, Iceland ProCruises hereby demands judgement against VST in the amount

of $841,897.99 plus attorneys’ fees, treble damages, costs and interest in pursuit of this action

and for such other and further relief as the Court deems just and proper.




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                                      JURY TRIAL DEMAND

              Iceland ProCruises hereby requests a jury trial on all counts so triable.

                                                Respectfully Submitted,
                                                ICELAND PROCRUISES EHF
                                                ICELAND PROCRUISES GmbH

                                                 By its attorney,

                                                 /s/ John T. Harding

                                                 John T. Harding, BBO #221270
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Dated: May 6, 2020
                                         Certificate of Service

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on May 6, 2020.


                                                 /s/ John T. Harding
                                                 ______________________________
                                                 John T. Harding, BBO #221270




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